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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
 THE CHAMBERLAIN GROUP, INC.,

          Plaintiff,
 v.                                                  Civil Action No.: 1:16-cv-06097

 TECHTRONIC INDUSTRIES CO. LTD.,
 TECHTRONIC INDUSTRIES NORTH                         The Honorable Martha M. Pacold
 AMERICA, INC., ONE WORLD
 TECHNOLOGIES INC., OWT
 INDUSTRIES, INC., ET TECHNOLOGY
 (WUXI) CO. LTD., AND RYOBI
 TECHNOLOGIES, INC.

          Defendants.


                                   JOINT STATUS REPORT

         In response to the Court’s Minute Order of August 20, 2019, Dkt. No. 782, the parties

submit the following report to the Court regarding the status of this case.

I.       Nature of the Case

         a. Attorneys for The Parties

         The following attorneys represent Chamberlain: Kathi Vidal, Michael Rueckheim and

Matt McCullough of Winston & Strawn and Ben Elacqua and Maria Elena Stiteler of Fish &

Richardson. Kathi Vidal is lead counsel.

         The following attorneys represent Defendants Techtronic Industries Co. Ltd., Techtronic

Industries North America Inc., One World Technologies Inc., OWT Industries Inc., ET

Technology (WUXI) Co. Ltd., and Ryobi Technologies Inc. (“TTI”): Jason White, Michael J.

Abernathy, Sanjay K. Murthy and Nicholas A. Restauri of Morgan, Lewis & Bockius LLP. Jason

White is lead counsel.
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        b. Basis of Federal Jurisdiction

       This case was brought pursuant to 28 U.S. code §§ 1331 (Federal Question) and 1338

(Patents).

        c. Nature of the Claims and Counterclaims/Affirmative Defenses

       Chamberlain asserted that TTI willfully infringed, and continues to willfully infringe, both

literally and by equivalents, directly and indirectly, two U.S. Patents directed to moveable barrier

operators like garage door openers: U.S. Patent Nos. 7,224,275 (the “’275 patent”) and 7,635,966

(the “’966 patent”). TTI denied infringement and asserted that the two patents are invalid and

unenforceable.

       On August 30, 2017, a jury found that the two patents in this case, the ’275 patent and the

’966 patent, were willfully infringed by TTI and were not invalid. Dkt. 607. The jury separately

awarded damages of $3,772,000 for infringement of the ’275 patent and $57,300 for infringement

of the ’966 patent. See id at 3, 10. On May 23, 2018, this Court (Judge Leinenweber) denied

TTI’s motion for judgment as a matter of law (JMOL) and granted CGI’s motion for enhanced

damages and attorney fees. See Dkt. 740.

       TTI appealed the judgement, including the jury’s verdict as to infringement and validity of

both patents and the Judge’s denial of TTI’s JMOL.

       On August 21, 2019, the Federal Circuit upheld the jury’s verdict and JMOL decision as

to the ’966 patent, but found the ’275 patent claims patent ineligible under 35 U.S.C. § 101. See

Dkt. 779. The Federal Circuit vacated the $3,772,000 damages awarded under the ’275 patent and

also vacated the award of enhanced damages and attorneys’ fees. Id. at 15. The Federal Circuit

remanded for reconsideration of any enhanced damages and attorney fees in connection with the

’966 patent.

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       The appeal process has not yet completed and no mandate has issued.

       CGI has filed an unopposed motion to extend the deadline by which it must file for petition

rehearing or en banc review, requesting an extension of that date until October 21, 2019.

       Once a mandate has been issued, the scope of any remand will be set and this court will

again have jurisdiction.

        d. Relief Sought by Plaintiff

       Chamberlain sought a preliminary injunction, permanent injunction and damages in the

form of lost profits or, at a minimum, a reasonable royalty. Chamberlain also sought enhanced

damages and attorney fees.

        e. Names of Any Parties Not Yet Served

            The only party not yet served is ET Technology (WUXI) Co. Ltd., a Chinese Entity.

II.     Discovery and Pending Motions

        a. Pending Motions

       None.

        b. Mandatory Initial Discovery Pilot (MIDP) Project

       The case is not in the MIDP Project.

        c. Status of Discovery

        Completed.

        d. Substantive Rulings Issued in the Case

       Judge Leinenweber issued numerous substantive rules up to and including ruling on post-

trial motions.




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        e. Anticipated Motions

       Once the appeal process has completed, Chamberlain anticipates asking this court or the

Executive Committee, as appropriate, to refer the case back to Judge Leinenweber who heard all

the evidence to rule on remand. TTI will oppose any such request.

III.    Trial

        a. Jury Demand

       As noted above, this case has been through a jury trial and has been appealed to the

Federal Circuit.

        b. Trial Date

       As noted above, this case has been through a jury trial and has been appealed to the

Federal Circuit.

        c. Final Pretrial Order

       As noted above, this case has been through a jury trial and has been appealed to the

Federal Circuit.

        d. Estimated Length of Trial

       As noted above, this case has been through a jury trial and has been appealed to the

Federal Circuit.

IV.     Settlement, Referrals, and Consent

        a. Referred to Magistrate Judge

       The case has not been referred to a Magistrate Judge for discovery supervision and/or a

settlement conference.




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        b. Settlement Discussions

       The parties have engaged in settlement discussions from time to time. No future

settlement discussions have been scheduled.

        c. Whether the Parties Request a Settlement Conference at this Time Before This
           Court or the Magistrate Judge

       At this time the parties do not request a settlement conference before this court or the

Magistrate Judge.

        d. Consent to Proceed Before Magistrate Judge for All Purposes

       The parties have not consented to proceed before a Magistrate Judge for all purposes.




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Dated: September 30, 2019
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                                                     ATTORNEYS FOR PLAINTIFF
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                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing document was served via CM/ECF on September

30, 2019.


                                                      /s/ Katherine Vidal
                                                      ATTORNEYS FOR PLAINTIFF
                                                      THE CHAMBERLAIN GROUP,
                                                      INC.




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